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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                 APPEARANCE OF COUNSEL FORM
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                                                   21-01005
  THE CLERK WILL ENTER MY APPEARANCE IN APPEAL NO. ______________________________ as

  □           □                       □                □                          □
  [ ]Retained [ ]Court-appointed(CJA) [ ]CJA associate [ ]Court-assigned(non-CJA) [ ]Federal Defender

  □            □
  [✔ ]Pro Bono [ ]Government

               National Women's Law Center and amici (see attached list)
  COUNSEL FOR: _______________________________________________________________________

  __________________________________________________________________________________as the
                                                   (party name)


  □ appellant(s) □appellee(s) □ petitioner(s) □ respondent(s)□
                                                             ✔ amicus curiae
                                                                             □intervenor(s) □movant(s)
  /s/ Emily P. Mallen
  ______________________________________
                (signature)

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  Emily P. Mallen
  ________________________________________                        202-736-8447
                                                                  _______________
  Name (printed or typed)                                          Voice Phone

  Sidley Austin LLP
  ________________________________________                         202-736-8711
                                                                   _______________
  Firm Name (if applicable)                                        Fax Number

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  ________________________________________

  Washington, DC 20005
  ________________________________________                        emallen@sidley.com
                                                                  _________________________________
  Address                                                          E-mail address (print or type)



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  /s/ Emily P. Mallen
  ______________________________                                                          April 22, 2021
                                                                                   ____________________________
            Signature                                                                            Date

  1/28/2020 SCC
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                           ADDITIONAL AMICI CURIAE

        Amara Legal Center
        American Sexual Health Association
        Autistic Self Advocacy Network
        Black Women's Health Imperative
        Bold Futures NM
        California Women Lawyers
        Champion Women
        Civil Liberties & Public Policy
        Clearinghouse on Women's Issues
        Coalition of Labor Union Women
        Desiree Alliance
        Disability Rights Advocates
        Equality California
        Family Equality
        Gender Justice
        Girls Inc.
        GLSEN
        Jobs With Justice
        Kentucky Association of Sexual Assault Programs
        KWH Law Center for Social Justice and Change
        Legal Aid at Work
        Legal Momentum, the Women's Legal Defense and Education Fund
        Legal Voice
        National Alliance to End Sexual Violence
        National Asian Pacific American Women's Forum
        National Association of Social Workers (NASW)
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        National Association of Women Lawyers
        National Center for Law and Economic Justice
        National Coalition Against Domestic Violence
        National Crime Victim Law Institute
        National Crittenton
        National Organization for Women Foundation
        National Women's Political Caucus
        North Carolina Coalition Against Domestic Violence
        North Carolina Coalition Against Sexual Assault
        Religious Coalition for Reproductive Choice
        Reproaction Education Fund
        Sexual Violence Law Center
        Sikh Coalition
        SisterLove
        SisterReach
        Stop Sexual Assault in Schools
        The National Network to End Domestic Violence
        The Women's Law Center of Maryland
        Washington Lawyers' Committee for Civil Rights and Urban Affairs
        Women Lawyers On Guard Inc.
        Women's Bar Association of the District of Columbia
        Women's Bar Association of the State of New York
        Women's Institute for Freedom of the Press
        Women's Law Project
        Women's Media Center
